









Dismissed and Memorandum Opinion filed October 16, 2003









Dismissed and Memorandum Opinion filed October 16,
2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01071-CR

____________

&nbsp;

DEBRA BEL YOUNGS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
351st District Court

Harris County, Texas

Trial Court Cause No.
941995

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered
and Memorandum Opinion filed October 16, 2003.

Panel consists of
Justices Edelman, Frost, and Guzman.

Do not publish C Tex.
R. App. P. 47.2(b).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 





